1 F.3d 1234
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Norman Wilson RYMAN, Plaintiff-Appellant,v.Jon P. GALLEY;  Lieutenant Tucker;  Officer Kendricks;Linda Cole;  Officer Hunsberger,Defendants-Appellees.
    No. 93-6615.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 6, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA-92-751)
      Norman Wilson Ryman, Appellant Pro Se.
      Andrew Howard Baida, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.MD.
      AFFIRMED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Norman Wilson Ryman appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ryman v. Galley, No. CA-92-751 (D. Md. May 26, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    